Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 1 of 25 PageID #: 14133



   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

                                             :
    UNITED STATES OF AMERICA                 :
                                             :
                v.                           :
                                                 Case No. 15 CR 252 (S-2)(PKC)
                                             :
    JUAN ANGEL NAPOUT,                       :
                                             :
                Defendant.
                                             :




              MEMORANDUM CONCERNING RESTITUTION ON BEHALF
                        OF JUAN ÁNGEL NAPOUT




                                            HUGHES HUBBARD & REED LLP
                                            Marc A. Weinstein
                                            Edward J.M. Little

                                            Attorneys for Juan Ángel Napout
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 2 of 25 PageID #: 14134



                                                      TABLE OF CONTENTS
                                                                                                                                              Page

   PRELIMINARY STATEMENT .....................................................................................................1 

   ARGUMENT ...................................................................................................................................2 

   I.        LOST REVENUES ..............................................................................................................2 

             A.         Applicable Law ........................................................................................................3 

             B.         CONMEBOL ...........................................................................................................3 

             C.         CONCACAF ............................................................................................................6 

   II.       LEGAL FEES ......................................................................................................................8 

             A.         Section 3663A(b)(4) and the Lagos Decision..........................................................9 

             B.         FIFA’s Legal Fee Request .....................................................................................12 

                        1.         Internal Investigation .................................................................................12 

                        2.         Trial Witness Costs ....................................................................................14 

             C.         CONMEBOL’s Legal Fee Request .......................................................................15 

             D.         CONCACAF’s Legal Fee Request ........................................................................15 

   III.      SALARY, BENEFITS, AND OTHER EXPENSES .........................................................16 

             A.         FIFA .......................................................................................................................16 

             B.         CONMEBOL .........................................................................................................18 

   IV.       THE COURT SHOULD APPORTION LOSSES AMONG DEFENDANTS ..................18 

   CONCLUSION ..............................................................................................................................20 




                                                                           i
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 3 of 25 PageID #: 14135



                                                   TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

   Cases

   Lagos v. United States, 138 S. Ct. 1684 (2018) ..................................................................... passim

   Robers v. United States, 134 S. Ct. 1854 (2014) .........................................................................3, 6

   United States v. Amato, 540 F.3d 153 (2d Cir. 2008) ........................................................12, 15, 18

   United States v. Arutunoff, 1 F.3d 1112 (10th Cir. 1993) ................................................................3

   United States v. Bahel, 662 F.3d 610 (2d Cir. 2011) .........................................................16, 18, 21

   United States v. Battista, 575 F.3d 226 (2d Cir. 2009) ......................................................17, 21, 23

   United States v. Boccagna, 450 F.3d 107 (2d Cir. 2006) ......................................................3, 5, 11

   United States v. Bryant, 655 F.3d 232 (3d Cir. 2011) ...................................................................21

   United States v. Donaghy, 570 F. Supp. 2d 411 (E.D.N.Y. 2008) ..........................................20, 21

   United States v. Faibish, No. 12-CR-265 (ENV), 2017 WL 3634599 (E.D.N.Y.
      Aug. 22, 2017) .........................................................................................................................15

   United States v. Fiorentino, 149 F. Supp. 3d 1352 (S.D. Fla. 2016) .............................................21

   United States v. Lacey, 699 F.3d 710 (2d Cir. 2012) ...................................................................2, 3

   United States v. Sapoznik, 161 F.3d 1117 (7th Cir. 1998) .............................................................21

   United States v. Schwamborn, 467 F. App’x 35 (2d Cir. 2012) ....................................................11

   United States v. Skowron, 529 F. App’x 71 (2d Cir. 2013) ...........................................................21

   United States v. Skowron, 839 F. Supp. 2d 740 (S.D.N.Y. 2012) .................................................21

   United States v. Stevens, 657 F. App’x 69 (2d Cir. 2016) ...............................................................3

   Statutes and Rules

   18 U.S.C. § 2248(b) .......................................................................................................................13

   18 U.S.C. § 2259(b) .......................................................................................................................13

   18 U.S.C. § 2264(b) .......................................................................................................................13

   18 U.S.C. § 2327(b) .......................................................................................................................13
                                                                        ii
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 4 of 25 PageID #: 14136



   18 U.S.C. § 3663A(a)(2) ..............................................................................................................2, 6

   18 U.S.C. § 3663A(b)(1)(B)(ii) .......................................................................................................3

   18 U.S.C. § 3663A(b)(4)....................................................................................................12, 13, 14

   18 U.S.C. § 3664(e) .............................................................................................................2, 15, 18

   18 U.S.C. § 3664(h) .......................................................................................................................22




                                                                       iii
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 5 of 25 PageID #: 14137



                    Juan Ángel Napout respectfully submits this memorandum in connection with the

   restitution portion of his sentencing proceeding.

                                       PRELIMINARY STATEMENT

                    Three entities – FIFA,1 CONMEBOL,2 and CONCACAF3 – have submitted letters

   to the Court seeking restitution for alleged losses in the following categories: (i) lost revenues from

   the undervaluation of contracts signed for the Copa America and Copa Libertadores tournaments,

   or in the alternative, the amount of bribes paid to the co-conspirators as a substitute measure of

   loss, (ii) attorney and related fees purportedly incurred to investigate the government’s allegations

   and to prepare trial witnesses, and (iii) reimbursement of salary, benefits and other expenses paid

   to Mr. Napout. These requests should be denied.

                    First, CONMEBOL and CONCACAF fail to establish any lost revenue from the

   various tournaments. Neither provides a reliable estimate of alleged undervaluation of the sale of

   media rights, and any losses to both CONMEBOL and CONCACAF have been offset by the

   renegotiation and return of media rights for those tournaments.

                    Second, while the three entities combined seek in excess of $50 million in legal and

   related fees, they have not produced a single invoice to support the reasonableness of the fees or

   to demonstrate how they relate to Mr. Napout’s conduct. Moreover, the Mandatory Victims




   1.   FIFA submitted two letters, dated August 15 and August 31, 2018: Letter to Hon. Judge Chen, ECF No. 988
        (hereinafter “FIFA Aug. 15 Ltr.”) and Letter to Hon. Judge Chen, ECF No. 1006 (hereinafter “FIFA Aug. 31
        Ltr.”). The second letter is merely a five-page summary of the first, 13-page letter, and provides no new
        information.

   2.   CONMEBOL submitted one letter: Letter to Hon. Judge Chen, ECF No. 989 (hereinafter “CONMEBOL Ltr.”).

   3.   CONCACAF submitted two letters: Letter to Hon. Judge Chen, ECF No. 986 (hereinafter “CONCACAF Aug.
        31 Ltr.”) and Letter to Hon. Judge Chen, ECF No. 1013 (hereinafter “CONCACAF Sept. 7 Ltr.”).
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 6 of 25 PageID #: 14138



   Restoration Act does not permit restitution for fees incurred for private internal investigations.

   Further, FIFA’s claim for the cost of witness preparation is unsupported and unreasonable.

                  Third, both CONMEBOL and FIFA fail to provide adequate factual support to

   substantiate their claims for reimbursement of expenses paid to Mr. Napout.

                                             ARGUMENT

                  Under the Mandatory Victims Restoration Act (“MVRA”), a victim is “a person

   directly and proximately harmed as a result of the commission of an offense for which restitution

   may be ordered.” 18 U.S.C. § 3663A(a)(2). In “the case of an offense that involves as an element

   a scheme, conspiracy, or pattern of criminal activity,” a victim is “any person directly harmed by

   the defendant's criminal conduct in the course of the scheme, conspiracy, or pattern.” Id.

   Restitution is only available for a victim’s “actual loss,” not any loss merely intended by the

   defendant. United States v. Lacey, 699 F.3d 710, 721 (2d Cir. 2012) (“We note that unlike the loss

   calculation for the purposes of sentencing, which may incorporate a merely intended loss in order

   to punish a culpable defendant, restitution is designed to make the victim whole … and must

   therefore be based only on the actual loss caused by the scheme.”). It is the government’s burden

   to demonstrate the amount of actual loss incurred by each victim resulting from an offense. 18

   U.S.C. § 3664(e).

   I.     LOST REVENUES

                  FIFA does not seek any lost revenues. In the CONMEBOL and CONCACAF

   letters to the Court, each seeks restitution from Mr. Napout in the amount that the broadcast rights

   to the various soccer tournaments were undervalued or, as an alternative, in the amount of bribes

   he and other co-conspirators allegedly received. Neither, however, discloses to the Court that any

   alleged losses have been more than offset by the return and renegotiation of the media rights to the

   various tournaments. CONCACAF’s request further fails as its estimate of lost revenue is based

                                                    2
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 7 of 25 PageID #: 14139



   on a series of flawed assumptions, and because Mr. Napout did not cause any of CONCACAF’s

   losses.

             A.    Applicable Law

                   The MVRA provides that in calculating restitution owed to a victim, the court must

   subtract “the value (as of the date the property is returned) of any part of the property that is

   returned.”     18 U.S.C. § 3663A(b)(1)(B)(ii).    As the “purpose of restitution is essentially

   compensatory,” United States v. Boccagna, 450 F.3d 107, 115 (2d Cir. 2006), the MVRA prohibits

   victims from receiving “‘a windfall,’ i.e., more in restitution than [they] actually lost,” id. at 117

   (quoting United States v. Arutunoff, 1 F.3d 1112, 1121 (10th Cir. 1993)). An offset is required

   whether or not the defendant himself returned the property, as long as the victim recouped some

   or all of the value it had lost. See, e.g., Robers v. United States, 134 S. Ct. 1854, 1856 (2014)

   (affirming, under the MVRA, the lower court’s offset of the value of a bank’s sale of a home the

   defendant had procured through mortgage fraud from the initial loss to the bank for restitution

   purposes); United States v. Stevens, 657 F. App'x 69, 72 (2d Cir. 2016) (citing United States v.

   Lacey, 699 F.3d 710, 721 (2d Cir. 2012)).

             B.    CONMEBOL

                   CONMEBOL seeks an undefined amount of restitution, “possibly reaching

   hundreds of millions of dollars,” for undervaluation of the broadcasting rights to various editions

   of the Copa America and the Copa Libertadores, or alternatively seeks $85.4 million for bribes

   allegedly received by various CONMEBOL officials from the years 2010 to 2015 (CONMEBOL

   Ltr. at 15.) Neither CONMEBOL nor the government has attempted to quantify the alleged

   undervaluation of the sale of marketing and media rights for the Copa tournaments, and thus the

   government has not met its burden of proof in valuing any loss to CONMEBOL beyond the value



                                                     3
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 8 of 25 PageID #: 14140



   of the bribes received.4 CONMEBOL provides no support that such losses “might possibly total

   hundreds of millions of dollars,” which plainly is not a sufficient basis upon which to impose

   restitution.

                     CONMEBOL alternatively seeks the amount of bribes allegedly paid to all co-

   conspirators in connection with the Copa America and Copa Libertadores schemes. For starters,

   the amount of bribes CONMEBOL asserts were actually paid is incorrect. Mr. Napout did not

   receive $10.5 million in bribes, nor does the government allege so. The government alleged that

   Mr. Napout actually received approximately $3.3 million, not $10.5 million. See Order of

   Forfeiture, at 2, ECF No. 1010. And the $3.3 million included $1.25 million allegedly received in

   connection with the Paraguayan qualifiers, which was not a CONMEBOL tournament.

   CONMEBOL concedes it is not entitled to that amount. (See CONMEBOL Ltr. at 8 n.25).

   Moreover, CONMEBOL’s $85.4 million figure overstates by at least $20 million the amount the

   government alleged was actually paid to the co-conspirators for those tournaments.5

                     More significantly, CONMEBOL is not entitled to any restitution from Mr. Napout

   for bribes received by him or his alleged co-conspirators, as any loss CONMEBOL suffered for

   those amounts has been offset by its sale of the marketing rights to the Copa Libertadores for the

   years 2016 through 2022, the sale of its marketing rights for the Copa Centenario, and the return

   of its property rights for the 2019 and 2023 Copa America.                        Conspicuously absent from




   4.   In connection with both trial and sentencing, Mr. Napout objected to any argument or finding that the alleged
        bribes are an alternative measure of loss to CONMEBOL. Because the Court has rejected Mr. Napout’s objections
        on more than one occasion, Mr. Napout incorporates but does not repeat those objections herein.

   5.   Mr. Napout’s PSR identifies $24.8 million allegedly paid to conspirators for the broadcasting rights to the Copa
        America tournaments and $33.2 million for the Copa Libertadores. PSR ¶¶ 49, 53. Thus, at most CONMEBOL’s
        losses would be $58 million based on bribes actually paid.

                                                            4
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 9 of 25 PageID #: 14141



   CONMEBOL’s lengthy submissions is any mention of these subsequent agreements which more

   than make CONMEBOL whole for losses attributable to the paid bribes.

                    In 2015, after the first indictment was unsealed, CONMEBOL renegotiated the

   contracts for the 2016 through 2022 editions of the Copa Libertadores. Pursuant to those

   renegotiated contracts, CONMEBOL received $450 million from the sale of the broadcasting

   rights to the 2016 through 2018 editions of Copa Libertadores and $1.4 billion for the broadcasting

   rights to the 2019 through 2022 editions. CONMEBOL’s losses in the amount of bribes paid to

   the co-conspirators are more than offset by the $1.85 billion CONMEBOL received from its sale

   of the 2016 through 2022 editions of the Copa Libertadores. Because any losses to CONMEBOL

   have been more than offset, to award CONMEBOL any amount in restitution for lost revenues

   would grant CONMEBOL an impermissible windfall. See Boccagna, 450 F.3d at 115.

                    Moreover, with respect to the Copa America 2019 and 2023 tournaments,

   CONMEBOL entered into an agreement with Datisa effective July 20, 2018 in which

   CONMEBOL represented that “the rights with respect to the 2019 and 2023 editions of the Copa

   America under the CONMEBOL Rights Contract have been returned and restored to it by this

   Agreement and, as a result, CONMEBOL has suffered no loss as to the 2019 and 2023 editions.”6

   (See Rights Transfer and Settlement Agreement § 4(f) (July 20, 2018) (Bates No. FIFA18839073)

   (emphasis added).) This is consistent with applicable law, even if CONMEBOL has not yet

   monetized the property rights returned to it. See Robers v. United States, 134 S. Ct. 1854, 1856




   6   The government produced the CONMEBOL/Datisa contract to the defense on September 18, 2018, pursuant to
       the terms of the protective orders governing this case. The government consented to general references to the
       agreement as part of this restitution submission, and to specific references and quotations from the provision cited
       herein. To the extent the Court requires a copy of the agreement itself, Mr. Napout requests that the government
       provide the agreement to the Court or otherwise consent to Mr. Napout’s submission of the agreement to the
       Court.

                                                             5
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 10 of 25 PageID #:
                                   14142


 (2014) (holding that under the MVRA a victim recovers its property when it receives the specific

 property it lost).

         C.       CONCACAF

                  CONCACAF seeks between $27.7 million and $32.7 million for the purported

 undervaluation of its rights for the Copa Centenario, or alternatively $10 million for a bribe paid

 to Jeffery Webb. (CONCACAF Sept. 7 Ltr. at 1–6.)

                  There is no basis to impose restitution as to Mr. Napout for any category of alleged

 loss by CONCACAF. CONCACAF is not a victim of Mr. Napout: Mr. Napout was not a member

 of CONCACAF. He did not sign any contracts on behalf of CONCACAF, he did not have the

 authority to approve a contract or otherwise act on CONCACAF’s behalf, and he did not cause

 anyone at CONCACAF to sign a contract.                He neither solicited nor received bribes for

 CONCACAF. Nor was there any evidence at trial that Mr. Napout even knew of the bribe intended

 for Mr. Webb. As detailed in Mr. Napout’s August 21, 2018 sentencing memorandum (see ECF

 No. 994, at 37–38), while certain witnesses discussed the bribe payment to Webb, none of those

 witnesses testified that Mr. Napout was involved or even aware of the payment, nor did the

 government argue otherwise. Rather, CONCACAF’s losses stem from the fact that CONCACAF

 officials independently decided to enter into the contract on behalf of CONCACAF in exchange

 for a bribe payment.

                  Separate and apart from the lack of any involvement by Mr. Napout in causing

 CONCACAF’s losses, which should be dispositive as to CONCACAF’s request, CONCACAF’s

 estimated loss of $27.7 million to $32.7 million is based on a series of unwarranted assumptions

 (any one of which makes the estimate unreliable for restitution purposes), including:

                 CONCACAF argues that any contract for the Centenario should have contained the
                  same 75/25 percent structure of the 2010 Full Play contract. (Id. at 3.)
                  CONCACAF was not a party to the 2010 contract, and the Centenario tournament
                                                   6
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 11 of 25 PageID #:
                                   14143


                  was not subject to that contract. CONCACAF offers no basis to assume that a
                  similar fee structure should have been employed for its contract.

                 CONCACAF urges the Court to use projected revenue estimates of $250 million
                  and $270 million rather than the actual $220 million in media rights revenue the
                  tournament actually generated.

                 CONCACAF’s projected estimate is based largely on a recorded conversation in
                  which two co-conspirators boast about the contract potentially generating $100
                  million in profit. It strains credulity to assume that such boasting was based on
                  any serious financial analysis. Yet CONCACAF not only argues that the Court
                  should rely on this conspiratorial boasting to calculate restitution, but should do so
                  in place of using actual revenue figures for the tournament. Moreover, even if the
                  conspiratorial boasting should be used as the basis for the calculation, one cannot
                  then skip the next sentence in the recording transcript in which Mariano Jinkis
                  lowers the expectation to a range of $80 million to $100 million. (GX 1709-T at 2.)
                  If one takes the low end of the $80 million to $100 million range rather than the
                  high, there would be less than a 5% difference between the estimate and the actual
                  revenue from the tournament.

                 CONCACAF assumes that Datisa’s profit was spread evenly among the four
                  tournaments. Because there was an additional $35 million payment to
                  CONCACAF for the 2016 tournament (on top of the $80 million CONCACAF
                  states was paid to CONMEBOL), CONCACAF’s profit for the 2016 edition might
                  well be lower than the $80 million to $100 million figure thrown about by Jinkis.

                 CONCACAF contends that the actual sales were lower than the projections due to
                  “a severely shortened sales window before the event, and the reality of a badly
                  tarnished product.” (Id. at 5.) But CONCACAF does not provide a single example
                  of a contract that was lost or undervalued by this supposed “shortened sales
                  window.” Moreover, the contract was renegotiated years after the original contract,
                  and thus at a time when the market value was much higher. Thus, CONCACAF
                  obtained the benefit of a higher market than the market that should be used as a
                  comparison. The assertion that the value of the event was tarnished is belied by the
                  fact that the 2016 tournament was deemed a resounding success, in terms of
                  broadcast rights, ticket sales, and overall public reception.7

                 CONCACAF provides no support for its net revenue figure of $34.8 million. (Id.
                  at 5.) Moreover, CONCACAF compares this number to what it claims its revenue
                  should have been – $62.5 million to $67.5 million – and seeks restitution for the
                  difference. (Id.) Yet CONCACAF provides no analysis to show whether the same
                  methods were used to deduct expenses or other payments to arrive at the actual net


 7.   See Historic 2016 Copa America Centenario Delivers Record-Breaking Event, Cision PR Newswire (Jun3 24,
      2016),      https://www.prnewswire.com/news-releases/historic-2016-copa-america-centenario-delivers-record-
      breaking-event-300289950.html.

                                                        7
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 12 of 25 PageID #:
                                   14144


               revenues and the purported estimated net revenue. For example, under the 2015
               Termination, Assignment and Release Agreement (“2015 Renegotiated Contract”),
               which renegotiated the rights to the 2016 Copa America, CONMEBOL and
               CONCACAF together were to receive 82.5% of the revenue on contracts Datisa
               had sold as of the date of the 2015 Renegotiated Contract. (See Termination,
               Assignment and Release Agreement § 6(a); id. Exhibit B.) Thus, CONMEBOL
               and CONCACAF would have received 82.5% of the $220 million in media rights
               that was actually sold, for a total $181.5 million. CONCACAF should have been
               entitled to 1/3 of this amount, or $60.5 million. This number far exceeds the $34.8
               million CONCACAF claims as its “net” earnings on the 2016 Copa America.
               CONCACAF provides no explanation for the discrepancy.

               In sum, CONCACAF’s flawed assumptions make its estimated loss figure

 unreasonable. While a victim’s loss need not be calculated with precision, “rough estimates”

 (much less rampant speculation) are insufficient to establish a loss amount under the MVRA. See

 United States v. Schwamborn, 467 F. App'x 35, 38 (2d Cir. 2012).

               Alternatively, CONCACAF seeks the $10 million paid to Mr. Webb as a bribe.

 Even if that payment can be attributable to Mr. Napout (it cannot), that amount must be offset by

 the amount CONCACAF obtained through the renegotiation of the Centenario contract. As

 detailed above, CONCACAF negotiated for the return of its media and marketing rights for the

 Centenario, and at a time when the market value had risen. The renegotiations provided for a

 better deal to CONCACAF than the 75/25% split which CONCACAF urges the Court to use as a

 baseline. In the renegotiations, Datisa received 17.5% of revenue from sales already made and

 only 4% for sales made subsequently. Thus, any alleged losses are more than offset by the

 subsequent agreements. See Boccagna, 450 F.3d at 115.

 II.    LEGAL FEES

               Each of the three entities seeks millions in legal fees, totaling more than $50 million

 combined. Not only do the requests lack any documentation, they are precluded under the MVRA,

 as the Supreme Court held in Lagos v. United States, 138 S. Ct. 1684 (2018).



                                                 8
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 13 of 25 PageID #:
                                   14145


          A.       Section 3663A(b)(4) and the Lagos Decision

                   Section 3663A(b)(4) requires defendants convicted of certain crimes to “reimburse

 the victim for lost income and necessary child care, transportation, and other expenses incurred

 during participation in the investigation or prosecution of the offense or attendance at proceedings

 related to the offense.” In Lagos, the Supreme Court addressed this provision and narrowly

 construed what may properly be imposed as restitution. The Court specifically addressed the

 meaning of the terms “investigation” and “proceedings” and held that they do not include private

 investigations undertaken by the victim or the costs of related civil proceedings.8 Id. at 1688–90.

 Rather, restitution is limited to costs of participating in a government investigation and criminal

 proceedings, such as a witness’s travel costs in getting to and from the courthouse. Id.

                    While the Supreme Court left open whether certain aspects of a company’s internal

 investigation might fit within the restitution statute if pursued “at a government’s invitation or

 request,” id. at 1690, it did not suggest that a private investigation fits within the statute merely

 because the entity decides to share investigative findings with the government. In fact, the

 Supreme Court’s rationale for denying the costs of private investigations dictates that the legal

 fees sought here, even if done in part at the government’s behest, cannot form the basis of a

 restitution order.

                   First, as in Lagos, the language of § 3663A(b)(4) suggests that internal

 investigations, even if pursued at the behest of a government, do not qualify for restitution.

 “[T]here would be an awkwardness about the statute's use of the word “participation” to refer to a




 8.   Any attempt by CONMEBOL, CONCACAF and FIFA to rely on Second Circuit case law prior to Lagos is
      unwarranted as Lagos specifically identified the Second Circuit’s position on whether private investigations are
      covered by the MVRA as being overturned. 138 S. Ct. at 1687, 1690 (overruling United States v. Amato, 540
      F.3d 153 (2d Cir. 2008)).

                                                           9
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 14 of 25 PageID #:
                                   14146


 victim's role in its own private investigation.” Id. at 1688. Indeed, a victim “opting to pursue a

 private investigation of an offense would be more naturally said to ‘provide for’ or ‘conduct’ the

 private investigation (in which he may, or may not, actively “participate”). Id.

                Second, the principle of noscitur a sociis—that words are known “by the company

 they keep”—also supports the conclusion that § 3663A(b)(4) does not cover internal

 investigations. Id. Section 3663A(b)(4) lists lost income, necessary child care, and transportation

 as costs for which a victim may receive restitution. The section “says nothing about the kinds of

 expenses a victim would often incur when private investigations . . . namely, the costs of hiring

 private investigators, attorneys, or accountants,” are undertaken. Lagos, 138 S. Ct. at 1684.

 Similarly, unlike other restitution statutes, the MVRA does not “specifically require restitution for

 the ‘full amount of the victim's losses,’ defined to include ‘any ... losses suffered by the victim as

 a proximate result of the offense.’” Id. at 1689 (comparing § 3663A(b)(4) with 18 U.S.C. §§

 2248(b), 2259(b), 2264(b), 2327(b)) (modifications in original). Thus, regardless of whether an

 investigation began at the government’s behest, the limited language of § 3663A(b)(4) indicates

 that it does not provide for restitution for legal fees incurred during internal investigations.

                Third, internal investigations, even if performed at the invitation of the government,

 would still “create significant administrative burdens.” Id. Such a reading would “invite disputes”

 over what expenses were “really ‘necessary’ to the investigation.” Id. “Such disputes may become

 burdensome in cases involving multimillion dollar investigation expenses for teams of lawyers

 and accountants. A district court might, for example, need to decide whether each witness

 interview and each set of documents reviewed was really ‘necessary’ to the investigation.” Id.

 That problem could not be more stark here, with the three entities seeking over $50 million

 combined for lawyers and accountant fees. The Supreme Court’s concern that Congress would



                                                   10
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 15 of 25 PageID #:
                                   14147


 not legislate so as to produce such administrative burdens reinforces the conclusion that

 § 3663A(b)(4) does not provide restitution for internal investigations, regardless of whether those

 investigations occurred at the behest of the Government.

                Moreover, CONMEBOL’s suggestion that the MVRA “clearly applies” to a private

 investigation undertaken “during participation in the investigation or prosecution of the offense”

 finds no support in Lagos. (See CONMEBOL Ltr. at 12 n.34.) As discussed above, the rationale

 of Lagos cuts against CONMEBOL’s reading. In addition, in Lagos the Supreme Court read §

 3663A(b)(4) to require restitution only for “other expenses” that are “necessary” to the

 prosecution, a requirement CONMEBOL ignores entirely. 138 S. Ct. at 1688 (emphasis in

 original).

                FIFA remarkably contends that Lagos decided in FIFA’s favor the very issue the

 Supreme Court stated it did not address. FIFA asserts: “Though it denied GE Capital’s request for

 restitution, the Supreme Court affirmed that attorney fees incurred by the victim in connection

 with a U.S. government investigation or criminal proceeding were recoverable, so long as the

 victim’s investigation was conducted during the pendency of the U.S. government’s investigation

 or prosecution.” (FIFA Aug. Ltr. at 11.) Yet, on the exact page of Lagos cited in FIFA’s letter,

 the Supreme Court specifically made clear that it did not address this issue: “We therefore need

 not address in this case whether this part of the Mandatory Victims Restitution Act would cover

 similar expenses incurred during a private investigation that was pursued at a government's

 invitation or request.” 138 S. Ct. at 1690.

                Even assuming fees for internal investigations are potentially recoverable

 depending on the circumstances, the government bears the burden of proving the amount of

 restitution by a preponderance of the evidence. 18 U.S.C. § 3664(e); see also United States v.



                                                 11
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 16 of 25 PageID #:
                                   14148


 Faibish, No. 12-CR-265 (ENV), 2017 WL 3634599, at *1 (E.D.N.Y. Aug. 22, 2017). When

 addressing restitution for legal fees (prior to the Supreme Court’s Lagos decision), the Second

 Circuit found the burden under § 3664(e) met where victims provided invoices documenting the

 legal fees and sworn declarations explaining how the legal services related to investigations into

 the conduct for which the defendant was convicted. See, e.g., United States v. Amato, 540 F.3d

 153, 162–63 (2d Cir. 2008) (legal fees request supported by over 200 pages of invoices and

 declaration by attorney describing cooperation with the government throughout the investigation

 and prosecution of the crimes), abrogated on other grounds by Lagos, 138 S. Ct. 1684; United

 States v. Bahel, 662 F.3d 610, 648 (2d Cir. 2011) (restitution supported by billing records from

 law firm that conducted investigation).

        B.      FIFA’s Legal Fee Request

                1.     Internal Investigation

                As per FIFA’s August 15 letter, Mr. Napout was a Vice President of FIFA and

 member of FIFA’s Executive Committee for a very short period of time – May through December

 2015 – and only after the first indictments were unsealed. Nevertheless, FIFA seeks in excess of

 $28 million in legal and other fees purportedly associated with its post-indictment investigation.

 FIFA, however, does not submit a single invoice or other document to support the request. A

 victim cannot simply state an amount it claims to have incurred in legal fees reimbursable under

 the MVRA, much less $28 million worth, and expect the parties and the Court simply to take that

 unsupported representation on faith. Mr. Napout has no ability to challenge the reasonableness of

 those fees, whether the fees are related to criminal conduct for which Mr. Napout was convicted,

 or whether any portion of otherwise reasonable fees should be apportioned among various co-

 conspirators. Nor has the Court received anything upon which to base a restitution order.



                                                12
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 17 of 25 PageID #:
                                   14149


                Indeed, it is highly likely that the legal fee figure is grossly inflated and entirely

 unwarranted as concerns Mr. Napout. For example, FIFA asserts that Mr. Napout participated in

 schemes such as the selection of the FIFA World Cup host country, the sale of media rights to

 FIFA tournaments, the election of the FIFA President, and the organization of international

 friendly matches. (FIFA Ltr. at 8-9 & nn.27–30). Yet, not only was there no evidence at trial that

 Mr. Napout participated in any one of those alleged schemes, the Government has never alleged

 such participation by Mr. Napout. One would expect the lion’s share of any of FIFA’s legal fees

 to relate to these schemes for which Mr. Napout was not a participant. Of course, we cannot know

 for sure because FIFA has failed to provide any documentation, despite ample opportunity by the

 Court to do so. Cf. United States v. Battista, 575 F.3d 226, 234 (2d Cir. 2009) (affirming restitution

 award for legal fees where, based upon an analysis of billing records and affidavits submitted by

 the victim, “[t]he district court meticulously parsed out the fees and costs submitted by the NBA

 in determining which expenses were associated with each defendant and whether they were

 incurred while assisting the government in ascertaining the extent of the criminal conspiracy and

 in preparing for Battista's criminal proceedings.”); United States v. Gupta, 925 F. Supp. 2d 581,

 587 (S.D.N.Y. 2013), aff'd, 747 F.3d 111 (2d Cir. 2014) (victim request for legal fees supported

 with 542 pages of billing records including time entries which “specify the work performed with

 sufficient particularity to assess what was done, how it was done, and why it was done”).

                Further, it is uncertain how FIFA’s internal investigation contributed and was

 necessary to the government’s investigation and prosecution of Mr. Napout. FIFA prepared

 “thousands of pages of reports” (FIFA Ltr. at 13), yet there is no evidence that the government

 relied on any of these reports in the investigation or prosecution of Mr. Napout. To the contrary,

 the government was able to investigate and file the May 2015 indictment without FIFA’s help or



                                                  13
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 18 of 25 PageID #:
                                   14150


 even awareness of any investigation. And it is unlikely that FIFA provided any report to the

 government prior to the filing of the indictment charging Mr. Napout. In short, there is no evidence

 that FIFA’s work-product was “necessary” for the investigation or prosecution of the offenses.

 See Lagos, 138 S. Ct. at 1688.

                FIFA’s request for legal fees as part of Mr. Napout’s restitution should be denied.

                2.      Trial Witness Costs

                FIFA seeks CHF 125,030.33 (approximately $129,000) in legal fees it claims it

 incurred to prepare and produce a witness at trial, and to have one of its lawyers attend each day

 of the six-week long trial. These fees are both unsubstantiated and unreasonable. To begin, as

 with the legal fees for its internal investigation, FIFA has provided no documentation to support

 its request. See pp. 12, supra. As a result, the burden of proof has not been met and FIFA cannot

 be awarded restitution for these fees. See 18 U.S.C. § 3664(e); Amato, 540 F.3d at 162–63; Bahel,

 662 F.3d at 648.

                Regardless of the lack of documentation, the request is unreasonable. A single

 FIFA witness, Stephanie Maendl, testified at trial as the first trial witness and for approximately

 thirty minutes. (Trial Tr. at 97–157.) Ms. Maendl’s testimony provided background information

 regarding FIFA’s governance structure and lasted no more than part of a morning. Yet FIFA has

 turned that witness’s limited trial role into a request for approximately $129,000. While the

 MVRA permits a witness to seek reimbursement for the cost of appearing at trial, such as the cost

 of the witness’s transportation to and from court, childcare costs, and lost income for the date of

 the appearance, see Lagos, 138 S. Ct. at 1688, it does not permit an entity to seek fees for its

 attorneys to prepare that witness to testify, and it certainly does not permit FIFA to recover legal

 fees to have an attorney attend the trial on a daily basis after the FIFA witness finished her trial

 role thirty minutes into the trial. FIFA has not identified any actual cost for that witness to appear
                                                  14
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 19 of 25 PageID #:
                                   14151


 at trial, and thus its request for restitution from Mr. Napout concerning trial attendance should be

 denied.

           C.   CONMEBOL’s Legal Fee Request

                CONMEBOL seeks $8,231,859.39 in fees incurred for a post-indictment

 investigation. (CONMEBOL Ltr. at 12.) To begin, any legal fees sought by CONMEBOL for

 internal investigations must be denied under Lagos for the same reasons discussed in connection

 with FIFA’s request. Further, like FIFA, CONMEBOL has offered nothing more than naked

 assertions for the amount of money it spent on legal fees. Cf. Amato, 540 F.3d at 162–63. This

 lack of evidence is especially concerning as CONMEBOL baldly admits to seeking legal fees for

 activities that were not part of its internal investigations. (See CONMEBOL Ltr. at 12 (seeking

 fees for “related litigations”.) Restitution for “related litigation” is explicitly precluded by the

 Lagos decision. See 138 S. Ct. at 1688–90. Because CONMEBOL has failed to provide any

 billing invoices, neither Mr. Napout nor the Court has any way of determining which part, if any,

 of the over $8 million is reimbursable under the MVRA.

           D.   CONCACAF’s Legal Fee Request

                CONCACAF seeks restitution for $15,216,634 in legal fees, or almost twice the

 amount sought by CONMEBOL despite the fact that Mr. Napout was never associated with

 CONCACAF. (CONCACAF Sept. 7 Ltr. at 7.) Specifically, it claims $1,927,123 for its purported

 participation in the criminal investigation starting in 2012; $13,027,981 for an internal

 investigation done “with the encouragement” of the government; and $261,530 for assisting FIFA

 in its internal investigation. (Id. at 7–8.) As with FIFA and CONMEBOL, the claims fail because

 CONCACAF provides zero evidence to substantiate them and any claims for internal

 investigations (or assisting FIFA with its internal investigations) must be denied under Lagos.

 Further, because Mr. Napout was never employed by and never owed any fiduciary duties to

                                                 15
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 20 of 25 PageID #:
                                   14152


 CONCACAF, CONCACAF’s internal investigation likely had little to do with Mr. Napout.

 Finally, as argued above, CONCACAF is not a victim of Mr. Napout’s conduct, and it cannot

 claim over $15 million in legal fees when there was no evidence at trial that Mr. Napout even knew

 of the bribes paid to CONCACAF officials. See pp. 6, supra.

 III.   SALARY, BENEFITS, AND OTHER EXPENSES

        A.      FIFA

                FIFA concedes that Mr. Napout never took a salary as a member of FIFA’s

 Executive Committee or for his service on any other FIFA committee. (See FIFA Ltr. at 7 n.24).

 In addition, although FIFA provided Mr. Napout with a pre-paid Visa card with $30,000 on it (as

 FIFA did for each of its Executive Committee members), Mr. Napout essentially never used it. As

 a result, FIFA was able to deposit $29,225.98 from Mr. Napout’s pre-paid Visa card. (Id. at 7).

                Despite the lack of any salary or related benefits provided to Mr. Napout, FIFA

 seeks to recoup more than $120,000 it reimbursed Mr. Napout for various trip expenses from 2009

 through 2015. (FIFA Aug. 15 Ltr. at 5). FIFA does not provide any evidence tying any of the

 events listed in its chart to the conduct for which Mr. Napout was convicted. As a result, FIFA’s

 claim to restitution for these amounts must be denied because restitution is only available for

 benefits which were directly linked to the charged conduct. In United States v. Donaghy, 570 F.

 Supp. 2d 411, 429 (E.D.N.Y. 2008), for example, the government charged a professional

 basketball referee with providing inside information to sports bettors relevant to the potential

 outcome of games he was assigned to referee. The court limited restitution for salary and travel

 expenses to only those NBA games at which the defendant sent inside information to his co-

 conspirators. 570 F. Supp. 2d 411, 429 (E.D.N.Y. 2008) (“In this case, it is undisputed that

 Donaghy dishonestly refereed 16 games during the 2006-07 season, and a corresponding portion

 of his compensation for these games is the appropriate measure of the NBA's loss.”), aff'd sub

                                                16
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 21 of 25 PageID #:
                                   14153


 nom. United States v. Battista, 575 F.3d 226 (2d Cir. 2009). The court did not impose any

 restitution, partial or otherwise, for travel expenses associated with games in which the government

 did not establish any such misconduct. Unlike what FIFA suggests this Court should do here, the

 court in Donaghy did not impose restitution for travel expenses for all 82 NBA games and require

 the defendant to prove that honest services were provided at most of those games. Rather, the

 court imposed restitution only in connection with those games where misconduct was established.

                  Even if FIFA had attempted to tie one or more of the listed trips to the charged

 conduct, FIFA would not be entitled to full reimbursement for such trips. The amount of restitution

 a defendant owes to his employer is not the total amount of salary and benefits the organization

 paid to the defendant; rather it is “the difference in the value of the services that [the defendant]

 rendered [to the organization] and the value of the services that an honest [employee] would have

 rendered.” United States v. Sapoznik, 161 F.3d 1117, 1121 (7th Cir. 1998); see also United States

 v. Skowron, 529 F. App'x 71, 74 (2d Cir. 2013) (adopting the reasoning in Sapoznik). The

 government bears the burden of proving the amount actually lost by the organization.9 Sapoznik,

 161 F.3d at 1121. In this context, Donaghy is distinguishable as Donaghy’s sole duty in traveling

 to the NBA games was to provide honest referee services, which was compromised by his criminal




 9   FIFA’s attempt to shift the burden to Mr. Napout to prove he rendered honest services is misguided. (See FIFA
     Aug. 15 Ltr. at 7–8.) In United States v. Bryant, 655 F.3d 232 (3d Cir. 2011), cited by FIFA, the court ordered
     restitution for the defendant’s full salary because the job was “created to accommodate” the defendant. Id. at 254–
     55 n.24. The court highlighted the fact that “a false job description was drafted and the subsequent hiring process
     was a sham” and reasoned that “absent the quid pro quo, the position would not have been made and filled, and
     thus in this case the full amount of the salary and bonus is” appropriate. Id. Aside from the unique circumstances
     of Bryant, FIFA does not cite a single case in which the defendant had the burden to prove honest services. Rather,
     the burden remains with the government. Moreover, in the remaining cases cited by FIFA, the district courts
     awarded a fraction of the defendant’s salary/benefits in restitution, and without shifting the burden to the
     defendant in doing so. See, e.g., Behal, 662 F.3d at 650 (awarding less than 10% of United Nations’ officials
     salary in theft of honest services case); Sapoznik, 161 F.3d at 1121-22 (25% of salary); United States v. Skowron,
     839 F. Supp. 2d 740, 752 (S.D.N.Y. 2012) (ordering 20% of compensation for the period of the
     offense), aff'd, 529 F. App'x 71 (2d Cir. 2013); United States v. Fiorentino, 149 F. Supp. 3d 1352, 1361 (S.D. Fla.
     2016) (same).

                                                          17
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 22 of 25 PageID #:
                                   14154


 conduct. Thus, it made sense to impose restitution for the full amount of trip expenses for games

 in which the government established misconduct. Here, by contrast, even assuming FIFA had

 established misconduct on any of the trips for which it seeks restitution, FIFA would not be entitled

 to full restitution for the trip expenses unless the entire purpose for Mr. Napout’s attendance at the

 event/meeting was compromised by the misconduct. There is no evidence that is the case.

        B.      CONMEBOL

                CONMEBOL’s forensic investigation revealed that Mr. Napout was scheduled to

 receive $1,369,150 in salary and reimbursements from 2011 through 2015, and that in the final

 years of his leadership he was entitled to $480,000 per year in salary, but that in fact he did not

 receive these amounts. (CONMEBOL Ltr. at 9–10.) Thus, CONMEBOL’s forensic audit

 confirmed what Mr. Napout has said all along – he never took a salary from CONMEBOL.

                CONMEBOL seeks restitution for a much lower number, $105,000, which it states

 was “legitimately wire transferred to Mr. Napout over the years.” (CONMEBOL Ltr. at 9). But

 CONMEBOL fails to identify a single transfer or the purpose behind any of the transfers, and falis

 to explain why restitution should be imposed for money “legitimately” transferred to Mr. Napout.

 Thus, CONMEBOL has not provided the Court with the essential information necessary to make

 a determination on loss associated with the criminal conduct, or for Mr. Napout to challenge

 whether the amount is subject to restitution.

 IV.    THE COURT SHOULD APPORTION LOSSES AMONG DEFENDANTS

                Pursuant to 18 U.S.C. § 3664(h), where more than one defendant contributes to a

 victim’s loss, the Court may apportion liability among defendants “to reflect the level of

 contribution to the victim’s loss and economic circumstances of each defendant.” Here, with

 respect to restitution for any lost revenues or legal fees incurred, apportionment is warranted.



                                                  18
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 23 of 25 PageID #:
                                   14155


                 The only basis upon which either CONMEBOL or CONCACAF has provided a

 lost revenue amount is the amount of bribes allegedly received by each participant.           Thus, the

 Court is uniquely situated to apportion to each participant the exact amount that recipient received

 and thus caused in loss to the victim. It is not only simple, but it is just, to require each participant

 to return the amount of money that each participant received. For example, Jeffrey Webb is the

 only logical choice to provide restitution to CONCACAF for the $10 million bribe he received.

 And while Mr. Napout has some financial means (substantially drained by the costs of the criminal

 proceedings), he certainly does not have sufficient means to pay the levels of restitution sought by

 the three entities. Thus, there is no compelling reason to impose joint and several liability for each

 of the bribes forming the basis of any restitution order for lost revenues.

                 Similarly, if the Court orders restitution for any legal fees incurred, the amounts

 should be apportioned to the fees relevant to investigate the conduct of any particular defendant.

 Of course, such an analysis is impossible absent any billing records to support the fee requests.

 But conceptually, for example, one can imagine that little, if any, of CONCACAF’s legal fees

 were spent to investigate conduct by Mr. Napout. Thus, if the Court is provided with any

 documentation to assess the reasonableness of each entity’s requested legal fees, Mr. Napout

 requests an opportunity not only to challenge the reasonableness of such fees, but to seek

 appropriate apportionment. Cf. Battista, 575 F.3d at 232 n.5 (noting the district court apportioned

 legal fees related to each defendant’s conduct).




                                                    19
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 24 of 25 PageID #:
                                   14156


                                       CONCLUSION

               For the reasons set forth herein, Mr. Napout respectfully requests that the Court

 deny the restitution claims submitted by FIFA, CONMEBOL, and CONCACAF.


 Respectfully submitted,

                                                 HUGHES HUBBARD & REED LLP
                                                 One Battery Park Plaza
                                                 New York, NY 10004-1482
                                                 T. 212.837.6000
                                                 marc.weinstein@hugheshubbard.com
                                                 /s/ Marc A. Weinstein
                                                 Marc A. Weinstein
                                                 Edward J.M. Little




                                              20
Case 1:15-cr-00252-PKC-RML Document 1026 Filed 09/21/18 Page 25 of 25 PageID #:
                                   14157


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 21, 2018, the foregoing document was
 electronically filed with the Clerk of the Court using CM/ECF. I also certify that this document is
 being served simultaneously on all counsel of record in the manner specified, either by
 transmission of Notices of Electronic Filing generated by CM/ECF, or in another authorized
 manner.

                                                      /s/Marc A. Weinstein
                                                      Marc A. Weinstein, Esq.
